Case 4:17-cv-00547-JED-JFJ Document 30 Filed in USDC ND/OK on 06/12/18 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT FOR
                         THE NORTHERN DISTRICT OF OKLAHOMA

  1.      MARILYN ANN PHILLIPS,                    )
                                                   )
                          Plaintiff,               )
                                                   )
  vs.                                              )       Case No. 17-CV-547-JHP-JFJ
                                                   )
  2.      FARMERS INSURANCE                        )
          COMPANY, INC.,                           )
                                                   )
                          Defendant.               )

               MOTION IN LIMINE OF DEFENDANT, FARMERS INSURANCE COMPANY, INC.

          Defendant, Farmers’ Insurance Company, moves the Court to enter an order prohibiting the

  Plaintiff, Marilyn Ann Phillips, from introducing evidence, mentioning, referring to or otherwise

  disclosing to the jury, directly or indirectly at any stage of the trial, including but not limited opening

  statement and closing argument, the following:

          1.      The amount of medical bills Plaintiff incurred for treatment for injuries she alleged

  she sustained as a result of the motor vehicle accident giving rise to her claim for relief against the

  Defendant and limit the introduction of such evidence to allow only the amount of medical bills paid

  by Plaintiff’s medical insurance provider, including Medicare, and the amount claimed by the

  medical provider to be owed after such insurance payments, if any, thereby disallowing any Medicare

  or other insurance “write-offs”; and,

          2.      Percentages of whole person permanent partial impairment or disability to the whole

  person asserted by Richard A. Hastings, II, D.O., Ph.D., as arising from alleged injuries to have been

  sustained by Plaintiff from the motor vehicle accident giving rise to her claim for relief against

  Defendant.

          Plaintiff submits that evidence of medical bills incurred, when payment of a portion of such
Case 4:17-cv-00547-JED-JFJ Document 30 Filed in USDC ND/OK on 06/12/18 Page 2 of 3




  bills has been made by medical insurance carrier of the Plaintiff, is irrelevant, under Oklahoma law

  which is applicable to this action. Further it is submitted that permanent partial disability ratings

  which comprises part of the evidence to determine determining permanent partial impairment awards

  under the former Oklahoma Workers' Compensation Act of Title 85 and the current Administrative

  Workers' Compensation Act found at Title 85A of Oklahoma Statutes are not relevant to the issues to

  be determined involving the nature, extent and cause of the alleged injuries suffered by Plaintiff and

  which she alleges was caused by the subject motor vehicle accident. It is further submitted that

  introduction of such evidence or the inquiry or statements made in the presence of the jury on these

  issues is prejudicial to Defendant. If these matters are inquired into during trial, the prejudicial effect

  cannot be resolved by the sustention of objections or curative instructions by the Court. Defendant

  submits its brief in support.

          Defendant therefore requests this Court to grant its motion in limine and to preclude the

  introduction of evidence concerning the subject matter identified herein and for any other relief that

  is just and equitable.

                                                   Respectfully submitted,

                                                   TAYLOR, RYAN, MINTON &VAN DALSEM, P.C.

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Case 4:17-cv-00547-JED-JFJ Document 30 Filed in USDC ND/OK on 06/12/18 Page 3 of 3




                                   CERTIFICATE OF SERVICE

         I hereby certify that on the 12th day of June 2018, I electronically transmitted the foregoing
  document to the Clerk of the Court using the ECF System for filing and transmittal of a Notice of
  Electronic Filing to the following ECF registrants:

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                                                s/William F. Smith
